Case 8:16-cv-00803-JSM-TGW Document 125 Filed 05/28/19 Page 1 of 6 PageID 1282



                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


 TERRI E. DICKENS, on behalf of
 the estate of Ronnie E. Dickens
 and others similarly situated,

 v.                                                                 Case No: 8:16-cv-803-T-30TGW

 GC SERVICES LIMITED PARTNERSHIP,

           Defendant.


                                     FINAL ORDER AND JUDGMENT

           On April 4, 2016, Ronnie E. Dickens (“Plaintiff” or “Class Representative”) 1 filed a

 class action complaint (hereinafter referred to as the “Lawsuit”) against GC Services

 Limited Partnership (“Defendant”) in the United States District Court, Middle District of

 Florida, Case No. 8:16-cv- 00803-JSM-TGW, asserting class claims under the Fair Debt

 Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

           Defendant has denied any and all liability alleged in the Lawsuit.

           On January 14, 2019, after extensive arms-length negotiations, Plaintiff and

 Defendant (hereinafter jointly referred to as the “Parties”) entered into a written Class

 Action Settlement Agreement (hereinafter referred to as the “Agreement”), which is

 subject to review under Fed. R. Civ. P. 23.

           On January 14, 2019, the Parties filed the Agreement, along with Plaintiff’s

 Unopposed Motion for Preliminary Approval of Class Action Settlement (the “Preliminary

 Approval Motion”).

           In compliance with the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(D),


 1
     Mr. Dickens’s widow later substituted into this case on behalf of Mr. Dickens’s estate. (Dkt. 60)
Case 8:16-cv-00803-JSM-TGW Document 125 Filed 05/28/19 Page 2 of 6 PageID 1283




 1453, and 1711-1715, Defendant, through the Settlement Administrator defined below,

 served written notice of the proposed class settlement as directed.

        On January 24, 2019, upon consideration of Plaintiff’s Preliminary Approval Motion

 and the record, the Court entered an Order of Preliminary Approval of Class Action

 Settlement (hereinafter referred to as the “Preliminary Approval Order”). Pursuant to the

 Preliminary Approval Order, the Court, among other things, (i) preliminarily approved the

 proposed settlement and (ii) set the date and time of the Final Approval Hearing.

        On April 22, 2019, Plaintiff filed a Motion for Final Approval of Class Action

 Settlement (the “Final Approval Motion”).

        On May 23, 2019, a Final Approval Hearing was held pursuant to Fed. R. Civ. P.

 23 to determine whether the claims asserted in the Lawsuit satisfy the applicable

 prerequisites for class action treatment and whether the proposed settlement is

 fundamentally fair, reasonable, adequate, and in the best interest of the Class Members

 and should be approved by the Court.

        The Parties now request final certification of the settlement class under Fed. R.

 Civ. P. 23 (b)(3) and final approval of the proposed class action settlement.

        The Court has read and considered the Agreement, Motion for Final Approval, and

 the record of these proceedings. All capitalized terms used herein have the meanings

 defined herein and/or in the Agreement.

        NOW, THEREFORE, IT IS HEREBY ORDERED:

        The Court has jurisdiction over the subject matter of the Lawsuit and over all

 settling parties hereto.

        CLASS MEMBERS – The Court previously certified this case as a class action

 pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure. (Dkt. 96) The Class is
                                             2
Case 8:16-cv-00803-JSM-TGW Document 125 Filed 05/28/19 Page 3 of 6 PageID 1284




 defined as:

          (1) All persons with a Florida address, (2) to whom GC Services Limited
          Partnership mailed an initial communication that stated: (a) “if you do
          dispute all or any portion of this debt within 30 days of receiving this
          letter, we will obtain verification of the debt from our client and send it
          to you,” and/or (b) “if within 30 days of receiving this letter you request
          the name and address of the original creditor, we will provide it to you
          in the event it differs from our client, Synchrony Bank, “(3) between
          April 4, 2015 and April 4, 2016, (4) in connection with the collection of
          a consumer debt, (5) that was not returned as undeliverable to GC
          Services Limited Partnership.

 Defendant has identified a total of 9,379 potential Class Members.

       CLASS REPRESENTATIVE AND CLASS COUNSEL APPOINTMENT –Pursuant

 to Fed. R. Civ. P. 23, the Court certifies Terri E. Dickens as the Class Representatives

 and James Davidson of Greenwald Davidson Radbil PLLC as Class Counsel. See ECF

 No. 96; see also Johnson v. NPAS Solutions, LLC, No.: 9:17-cv-80393, 2017 WL

 6060778, at *1 (S.D. Fla. May 8, 2018); Gonzalez v. Dynamic Recovery Solutions, LLC,

 Nos. 14-24502, 14-20933, 2015 WL 738329, at *2 (S.D. Fla. Feb. 23, 2015).

       NOTICES TO THE CLASS – Pursuant to the Court’s Preliminary Approval Order,

 the approved class action notices were mailed. The form and method for notifying the

 Class Members of the settlement and its terms and conditions were in conformity with this

 Court’s Preliminary Approval Order and satisfied the requirements of Fed. R. Civ. P.

 23(c)(2)(B) and due process, and constituted the best notice practicable under the

 circumstances. The Court finds that the notice was clearly designed to advise the Class

 Members of their rights.

       FINAL CLASS CERTIFICATION – The Court finds that the Lawsuit satisfies

 the applicable prerequisites for class action treatment under Fed. R. Civ. P. 23 for the

 purposes of settlement, namely:

                                              3
Case 8:16-cv-00803-JSM-TGW Document 125 Filed 05/28/19 Page 4 of 6 PageID 1285




         A.    The Class Members are so numerous and geographically dispersed that

               joinder of all of them in the Lawsuit is impracticable;

         B.    There are questions of law and fact common to the Class Members, which

               predominate over any individual questions;

         C.    The claims of the Plaintiff are typical of the claims of the Class Members;

         D.    The Plaintiff and Class Counsel have fairly and adequately represented

               and protected the interests of all of the Class Members; and

         E.    Class treatment of these claims will be efficient and manageable, thereby

               achieving an appreciable measure of judicial economy, and a class action

               is superior to other available methods for a fair and efficient adjudication

               of this controversy.

        The Court finds that the settlement of the Lawsuit, on the terms and conditions

 set forth in the Agreement, is in all respects fundamentally fair, reasonable, adequate,

 and in the best interest of the Class Members, especially in light of the benefits to the

 Class Members; the strength of the Plaintiff’s case; the complexity, expense, and

 probable duration of further litigation; the risk and delay inherent in possible appeals;

 and, the limited amount of any potential total recovery for the class. See Leverso v.

 SouthTrust Bank of AL., N.A., 18 F.3d 1527, 1530 (11th Cir. 1994).

        SETTLEMENT TERMS – The Agreement, which is deemed incorporated herein,

 is finally approved and shall be consummated in accordance with the terms and

 provisions thereof, except as amended by any order issued by this Court. The material

 terms of the Agreement include, but are not limited to, the following:

        1.    Settlement Fund – Defendant will establish a $99,920 settlement fund


                                              4
Case 8:16-cv-00803-JSM-TGW Document 125 Filed 05/28/19 Page 5 of 6 PageID 1286




 (the “Settlement Fund”).

        2.    Settlement Payment to Class Members – Each Class Member who has not

 excluded himself or herself from the Class with a postmark date no later than 75 days

 after the Court’s entry of the Order of Preliminary Approval of Class Action Settlement

 will receive a settlement check for $10. Each settlement check will be void ninety days

 after mailing. To the extent that any funds remain in the Settlement Fund after the void

 date (from uncashed checks or otherwise), these funds will be distributed first to

 Defendant up to the amount of the Settlement Administration Costs, in an amount not

 to exceed $30,000, with the remainder, if any, to Bay Area Legal Services Inc.—as the

 cy pres recipient.

        3.    Class Representative Settlement Amount – Class Representative, on

 behalf of the estate of Ronnie Dickens, will each receive from Defendant the sum of

 $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(B)(i) and Class Representative

 individually will receive $1,500.00 as an incentive award for her work on behalf of the

 Class Members (“Class Representative Settlement Amount”). These payments will be

 separate and apart from the Settlement Fund and their pro-rata share of the same.

        4.    Settlement Notice and Administration: Separate from the Settlement Fund,

 the Class Representative Settlement Amount, and the attorneys’ fees, costs and

 expenses previously awarded, Defendant is responsible for paying all costs of notice

 and administration of the settlement (“Settlement Administration Costs”), which will be

 completed by First Class, Inc.

        OBJECTIONS AND EXCLUSIONS – The Class Members were given an

 opportunity to object to the settlement. No     Class   Members     objected    to   the


                                             5
Case 8:16-cv-00803-JSM-TGW Document 125 Filed 05/28/19 Page 6 of 6 PageID 1287




 settlement. No Class Members excluded themselves from the settlement. This Order is

 binding on all Class Members.

        RELEASE OF CLAIMS AND DISMISSAL OF LAWSUIT – Plaintiff, Class

 Members, and their successors and assigns are permanently barred and enjoined from

 instituting, prosecuting, intervening in or participating in, either individually or as a class,

 or in any other capacity, any of the Released Claims against any of the Released

 Parties, as set forth in the Agreement. Pursuant to the release contained in the

 Agreement, the Released Claims are compromised, settled, released, discharged, by

 virtue of these proceedings and this order.

        The Lawsuit is hereby dismissed with prejudice in all respects. This Order is not,

 and shall not be construed as, an admission by Defendant of any liability or wrongdoing

 in this or in any other proceeding. The Court hereby retains continuing and exclusive

 jurisdiction over the Parties and all matters relating to the Lawsuit and/or Agreement,

 including the administration, interpretation, construction, effectuation, enforcement, and

 consummation of the settlement and this order, and the approval of any attorneys’ fees,

 costs, and expenses to Class Counsel.

        DONE and ORDERED in Tampa, Florida, this 28th day of May, 2019.




 Copies furnished to:
 Counsel of Record
 Any Unrepresented Person




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